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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO


                            JUDGE PHILIP A. BRIMMER



Case No. 1:19-cv-00827-PAB                  Date: 3/28/2019


Case Title:
ACT FOR HEALTH, d/b/a PROFESSIONAL CASE MANAGEMENT, Petitioner,

v.

UNITED STATES DEPARTMENT OF LABOR; ALEXANDER ACOSTA, in his official
capacity as Secretary of the U.S. Department of the Labor; OFFICE OF WORKERS’
COMPENSATION PROGRAMS; and Julia Hearthway, in her official capacity as
Director of the Office of Workers’ Compensation Programs, Respondents.
       ____________________________________________________________


                           PETITIONER’S WITNESS LIST


               WITNESS                           ESTIMATED DATE(S) AND
                                                 LENGTH OF TESTIMONY


Greg Austin,
President of Professional Case Management              4/4/19, 30-45 minutes


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                               Respectfully submitted,

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                               ATTORNEYS FOR PETITIONER
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                                CERTIFICATE OF SERVICE

        I hereby certify that on March 28, 2019, I electronically filed the foregoing document,

Petitioner’s Witness List, with the clerk of the court for the United States District Court for

the District of Colorado using the CM/ECF system.



                                        /s/ Kristina (Tina) Van Bockern
                                        Kristina (Tina) R. Van Bockern
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